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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


United States of America,


       -   v. -


Nicolás Maduro Moros,                                     S2 11 Cr. 205 (AKH)
Diosdado Cabello Rondón,
Huge Armando Carvajal Barrios,
       a/k/a/ “El Pollo,”
Cliver Antonio Alcalá Cordones,
Luciano Marín Arango,
       a/k/a “Ivan Marquez,” and
Seuxis Paucis Hernández Solarte,
       a/k/a “Jesús Santrich,”

                            Defendants.



     MEMORANDUM OF LAW IN OPPOSITION TO THE GOVERNMENT’S
 SUBMISSION PURSUANT TO SECTION 4 OF THE CLASSIFIED INFORMATION
 PROCEDURES ACT, FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1), AND
         THE GOVERNMENT’S PROPOSED PROTECTIVE ORDER



César de Castro                             Adam S. Kaufmann
Valerie Gotlib                              Cristián Francos
The Law Firm of César de Castro P.C.        Diane M. Camacho
111 Fulton Street – 602                     Lewis Baach Kaufmann Middlemiss PLLC
New York, NY 10038                          The Chrysler Building
(631) 460-3951                              405 Lexington Avenue, 64th Floor
cdecastro@cdecastrolaw.com                  New York, NY 10174
vgotlib@cdecastrolaw.com                    (212) 826-7001
                                            Adam.Kaufmann@lbkmlaw.com
                                            Cristian.Francos@lbkmlaw.com
                                            Diane.Camacho@lbkmlaw.com

                                 Attorneys for Defendant,
                             Cliver Antonio Alcalá Cordones
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                                 PRELIMINARY STATEMENT

       This memorandum of law is submitted on behalf of General Alcalá Cordones in opposition

to the government’s application pursuant to Section 4 of the Classified Information Procedures

Act (“CIPA”), 18 U.S.C. App. 3 (2000), Fed. R. Crim. P. 16(d)(1), and the government’s proposed

protective order. As detailed below, it is respectfully submitted that the Court should conduct an

in camera and ex parte conference with defense counsel regarding the government’s CIPA Section

4 filing. The defense should be given an opportunity to present to the Court information that will

assist it in evaluating the government’s Section 4 submission, and in determining whether

information the government seeks to protect includes discoverable material or material that is

helpful to the defense. This practice is consistent with those of other courts in this Circuit.

       In an in camera and ex parte conference, the defense would present to the Court detailed

information about General Alcalá Cordones’ interactions with the United States government,

including with the Central Intelligence Agency (“CIA”) and other intelligence agencies that is

relevant to the allegations in the Indictment and most certainly should have and would have been

memorialized in government memoranda, communications, and other records. This information

will help the Court in its evaluation of whether the classified material in possession of the

government includes material that is discoverable and/or helpful to the defense. Our provision of

this information to the Court will necessarily involve revealing aspects of our defense that we

should not have to reveal to the government at this point in the case. Therefore, an in camera and

ex parte disclosure is both appropriate and consistent with established practice in this Circuit.




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 DEFENSE COUNSEL SHOULD BE PERMITTED TO MAKE AN IN CAMERA AND EX
    PARTE PRESENTATION TO THE COURT REGARDING HOW CLASSIFIED
      MATERIAL MAY BE HELPFUL AND MATERIAL TO THE DEFENSE

       General Alcála Cordones should be given an opportunity, in camera and ex parte, to

provide the Court with information regarding his defense that is relevant to whether the

government should be compelled to make a full production of the materials it has deemed

classified. Section 4 of CIPA permits the government to delete, summarize, or substitute specified

items of classified information before providing the items in discovery, but only “upon a sufficient

showing” that full production would pose a reasonable danger to national security. 18 U.S.C.

App. 3 § 4; see United States v. Abu-Jihaad, 630 F.3d 102, 141 (2d Cir. 2010) (the “state secrets”

privilege to withhold information applies under CIPA Section 4 only if “there is a reasonable

danger that compulsion of the evidence will expose . . . matters which, in the interest of national

security, should not be divulged”). However, the state secrets privilege is not absolute. As

discussed below, it must yield if the information is discoverable or helpful to the defense. See,

e.g., Abu-Jihaad, 630 F.3d at 141 (“the state-secrets privilege must—under some circumstances—

‘give way . . . to a criminal defendant’s right to present a criminal defendant’s right to present a

meaningful defense.’” (quoting United States v. Stewart, 590 F.3d 93, 131 (2d Cir. 2009))).

       The Second Circuit has developed a four-step test for evaluating a government application

to delete or substitute information pursuant to § 4. See United States v. Aref, 533 F.3d 72, 80 (2d

Cir. 2008).   This Court must determine whether: (1) the information is classified; (2) the

information is discoverable; (3) the state secrets privilege applies; and (4) the information is

helpful or material to the defense. Id.

       The first step is determining whether the information is, in fact, classified. “Classified

information” is defined as “information or material that has been determined by the United States



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Government pursuant to an Executive order, statute, or regulation, to require protection against

unauthorized disclosure for reasons of national security. . . .” 18 U.S.C. App. 3 § 1(a).

Classification may be established by the affidavit of a government official, as long as the affidavit

“adequately describes the reasons for the information’s classification and the harm that would

result from disclosure.” United States v. Juma Khan, No. 08 Cr. 621(NRB), 2010 WL 330241, at

*1 (S.D.N.Y. Jan. 20, 2010).

       If the material or information is deemed classified, in the second step of the analysis the

Court must determine whether it is discoverable. CIPA was not intended to, and does not, change

the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83 (1963) or the

Federal Rules of Criminal Procedure. See, e.g., United States v. Libby, 429 F. Supp. 2d 1, 7

(D.D.C. 2006) (“[CIPA] creates no new rights of or limits on discovery of a specific area of

classified information . . . [,] it contemplates an application of the general law of discovery in

criminal cases to the classified information based on the sensitive nature of the classified

information”) (quoting United States v. Yunis, 867 F.2d 617, 621 (D.C. Cir. 1989)). The purpose

of CIPA is to protect sensitive national security information, not to impede a defendant’s fair trial

rights. See Stewart, 590 F.3d at 130; Aref, 533 F.3d at 79–80 (government’s privilege under CIPA

“must give way” when classified information is helpful or material to the defense); see also United

States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005). In fact, in enacting CIPA, Congress warned

that “the defendant should not stand in a worse position, because of the fact that classified

information is involved, than he would without this Act.” S. Rep. No. 96-823, at 9 (1980); see

also United States v. Poindexter, 698 F. Supp. 316, 320 (D.D.C. 1988).

       When classified information is discoverable, the third step involves deciding whether the




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state secrets privilege applies because: (1) exposure of the evidence would present a “reasonable

danger” to national security; and (2) the privilege has been “lodged by the head of the department

which has control over the matter, after actual personal consideration by that officer.” Aref, 533

F.3d at 80 (citation and internal quotation marks omitted).

       If the Court decides the “state secrets” privilege applies, the fourth and final step is to

determine whether the information is “helpful or material” to the defense, meaning it would be

“useful to counter the government’s case or to bolster a defense.” Id. (citation and internal

quotation marks omitted). In Aref, the Second Circuit explained that “[t]o be helpful or material

to the defense, evidence need not rise to the level that would trigger the Government’s obligation

under Brady v. Maryland, to disclose exculpatory information.” Id. Rather, “[i]nformation can be

helpful without being ‘favorable’ in the Brady sense.” Id. (citation and internal quotation marks

omitted). Thus, when information may be helpful or material to the defense, the classified material

or information must be provided, but the Court may permit the government to make appropriate

deletions or substitutions. 18 U.S.C. App. 3 § 4.

       Section 4 authorizes a court to accept government pleadings, and by implication to conduct

the entire four-step analysis set forth above, ex parte. 18 U.S.C. App. 3 § 4. However, because

Section 4 states only that “[t]he court may permit the United States to make a request for such

authorization in the form of a written statement to be inspected by the court alone”, there exists no

categorical impediment to disclosure or adversary proceedings. Id.

       While the Second Circuit recently held that a district court did not abuse its discretion in

granting the government’s motion to make its Section 4 motion ex parte, in reaching this holding

it noted that prior to granting the motion “the District Court met ex parte with defense counsel so

that counsel could present [the defendant’s] theory of the case and his potential defenses.” United



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States v. Al-Farekh, 956 F.3d 99, 109 (2d Cir. 2020). This Court should afford the defense the

same opportunity prior to ruling on the government’s Section 4 motion.

       In order to assist the Court in making its Section 4 determination(s), General Alcála

Cordones should be permitted an in camera and ex parte conference to make a presentation to the

Court as to the reasons why categories of potentially classified evidence may be relevant, material,

and/or helpful to the defense. A conference would allow the defense to answer questions from the

Court in a contemporaneous fashion and to permit dialogue to flesh out the issues. Similar

conferences have been conducted in other cases. See, e.g., United States v. Zhongsan Liu, No. 19

Cr. 804 (VEC), 2021 WL 3374535, at *1 (S.D.N.Y. July 8, 2021) (noting that the court ordered

the defense “to appear at an ex parte hearing to further explicate his merits defense to better assist

the Court in its review of the Government’s motion” which the court used “when evaluating

whether any information subject to the Government’s CIPA Section 4 motion could be relevant

and helpful to the defense.”); United States v. Mostafa, No. 04 Cr. 356 (KBF) (S.D.N.Y. January

17, 2014), ECF No. 233 (ex parte conference held prior to ruling on the government’s Section 4

motion); United States v. Sulaiman Abu Ghayth, No. 98 Cr. 1023 (LAK) (S.D.N.Y. August 19,

2013), ECF No. 1285 (permitting ex parte conference in Section 4 context “to permit the Court to

be better informed to make the judgments called for by the government’s CIPA motion” and “to

be better informed of the defenses they [defense counsel] plan to present”); United States v. Khaled

Al Fawwaz & Adel Abdel Bary, No. 98 Cr. 1023 (LAK) (S.D.N.Y. Aug. 19, 2013), ECF No. 1284

(same); United States v. Farekh, No. 15 Cr. 268 (BMC), 2016 WL 4444778, at *1 (E.D.N.Y. Aug.

23, 2016) (noting that prior to ruling on the government’s Section 4 motion the court “met with

defendant's counsel ex parte, as requested, to listen to a presentation defendant’s attorneys made

about defenses that they anticipate raising”); United States v. Velentzas, No. 15 Cr. 213, 2016 WL



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4250304, at *2 (E.D.N.Y. Aug. 10, 2016) (granting defendant’s request to make an ex parte

presentation); United States v. Babar Ahmad, No. 04 Cr. 301 (JCH) (D. Conn. April 15, 2013),

ECF No. 72 (calendaring an ex parte hearing regarding the government’s CIPA Section 4 filing,

at which the Court would also “hear an ex parte presentation from the defense, as per their request,

to assist the court in making its Section 4 determination”); see also Libby, 429 F. Supp. 2d at 26

(allowing the defendant to submit an ex parte affidavit detailing the defense).

       Here, as in the above cases, an in camera and ex parte conference with the defense will

assist the Court in making an informed and accurate decision regarding the disclosure of evidence

under CIPA Section 4.


                                         CONCLUSION

       In order to properly evaluate the government Section 4 submission, this Court should

provide defense counsel an opportunity at an in camera and ex parte conference to allow General

Alcála Cordones to present information that will assist the Court in evaluating the government’s

Section 4 submission and determine whether it includes discoverable material and/or material that

is helpful to the defense.




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Dated: February 25, 2022
                                                  /s/
                                          César de Castro
                                          Valerie Gotlib
                                          The Law Firm of César de Castro P.C.
                                          111 Fulton Street – 602
                                          New York, NY 10038
                                          (631)-460-3951
                                          cdecastro@cdecastrolaw.com
                                          vgotlib@cdecastrolaw.com


                                          Adam S. Kaufmann
                                          Cristián Francos
                                          Diane M. Camacho
                                          Lewis Baach Kaufmann Middlemiss
                                          PLLC
                                          The Chrysler Building
                                          405 Lexington Avenue, 64th Floor
                                          New York, NY 10174
                                          (212) 826-7001
                                          Adam.Kaufmann@lbkmlaw.com
                                          Cristian.Francos@lbkmlaw.com
                                          Diane.Camacho@lbkmlaw.com

                                          Attorneys for Defendant,
                                          Cliver Antonio Alcalá Cordones




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